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                             UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


    OHIO A. PHILIP RANDOLPH INSTITUTE )
    ET AL.,                           )                         No. 1:18-cv-00357
                                      )
            Plaintiffs,               )                         ORDER FOR IN CAMERA
                                      )                         REVIEW
    v.                                )
                                      )
    RYAN SMITH ET AL.,                )
                                      )
            Defendants.               )


   Before: Moore, Circuit Judge; Black and Watson, District Judges.

          The Republican National Committee (“RNC”), the National Republican Congressional

   Committee (“NRCC”), and Adam Kincaid (collectively, “Respondents”) received from the

   Plaintiffs subpoenas that requested the production of various documents and communications

   related to the 2011 Ohio congressional redistricting. In response, the Respondents have asserted

   that various documents and communications are covered by the First Amendment privilege, the

   attorney-client privilege, and the work product doctrine. See Case No. 18-mc-00031, R. 11-2 (Ex.

   A, Privilege Log) (Page ID #446–50). After receiving the privilege log, the Plaintiffs informed

   the Respondents that they were no longer seeking documents corresponding to some of the entries

   in the privilege log. 1 The Plaintiffs, however, argue that the remaining documents are neither

   subject to attorney-client nor First Amendment privilege, nor are they subject to work product

   protection, and that the documents are relevant to prove partisan intent. Therefore, they have made



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           These are entries REV_00023196 to REV_00023199, and entries REV_00023258 to REV_00023652. See
   Reply Mem. at 13 n.8.


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   a motion to compel compliance with the subpoenas. Case No. 18-mc-00031, R. 1 (Mot. to

   Compel) (Page ID #1–2).

          A party responding to a subpoena must “describe the nature of the withheld documents

   [and] communications . . . in a manner that, without revealing information itself privileged or

   protected, will enable the parties to assess the claim.” FED. R. CIV. P. 45(e)(2). Whether a privilege

   applies is often “a fact-intensive inquiry that must be applied document-by-document,” and in

   camera review is often appropriate to assist a court in this inquiry. See, e.g., Ajose v. Interline

   Brands, Inc., No. 3:14-cv-1707, 2016 WL 6893866, at *7 (M.D. Tenn. Nov. 23, 2016) (Order);

   see also Perry v. Schwarzenegger, 591 F.3d 1147, 1153–54 (9th Cir. 2010) (noting the use of in

   camera review when the First Amendment privilege is asserted). The Court must assess the

   privilege claims as they relate to the remaining contested documents in the privilege log, and the

   Court determines that it cannot do so without viewing the documents.

          Accordingly, IT IS ORDERED that the Respondents immediately produce to the Court

   the following documents for in camera judicial review:

      •   Entries REV_00023166 through REV_00023195. See Case No. 18-mc-00031, R. 11-2

          (Ex. A, Privilege Log) (Page ID #446).

      •   Entries REV_00023200 through REV_00023257. See Case No. 18-mc-00031, R. 11-2

          (Ex. A, Privilege Log) (Page ID #447–48).

   The Respondents shall produce these documents to each of the undersigned judges’ chambers by

   overnight delivery.




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                                    ENTERED: 12/3/18

                                    S/ Karen Nelson Moore
                                    Signed for and on behalf of the panel:

                                    HONORABLE KAREN NELSON MOORE
                                    United States Circuit Judge

                                    HONORABLE TIMOTHY S. BLACK
                                    United States District Judge

                                    HONORABLE MICHAEL H. WATSON
                                    United States District Judge




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